Case 1:04-cv-10981-PBS Document 1692-7 Filed 03/02/09 Page 1 of 9

Exhibit 42
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Case 1:04-cv-10981-PBS Document 1692-7 Filed 03/02/09 Page 2 of 9

 

UNITED STATES DISTRICT COURT

DISTRICT OF MASSACHUSETTS

~~-o00---

In re: NEURONTIN MARKETING, SALES
PRACTICES AND PRODUCTS LIABILITY

LITIGATION
ae /
THIS DOCUMENT RELATES TO:
MDL Docket

HARDEN MANUFACTURING CORPORATION; No. 1629
LOUISIANA HEALTH SERVICE INDEMNITY .
COMPANY, dba BLUECROSS/BLUESHIELD OF Master File
LOUISIANA; INTERNATIONAL UNION oO No. 04-10981
OPERATING ENGINEERS, LOCAL NO. 6
WELFARE FUND; ASEA/AFSCME LOCA
HEALTH BENEFITS TRUST; GERALD TH;
and LORRAINE KOPA, on behal
themselves and all others im larly
situated, v. PFIZER INC
WARNER-LAMBERT COMPANY °¢

/

THE GUARDIAN LIF 1@pkance COMPANY OF
AMERICA v. PFIZE Ific and

AETNA, INC. v. PFIZER INC.

VIDEOTAPED DEPOSITION OF NICHOLAS P. JEWELL, Ph.D.

THURSDAY, JANUARY 8, 2009

Job No.: 185820

Pages 1 - 246

 

 

 

VERITEXT CORPORATE SERVICES (800) 567-8658
Case 1:04-cv-10981-PBS Document 1692-7 Filed 03/02/09 Page 3 of 9

 

 

 

 

18 20
1 Q. And about how much time did you spend? 1 Q. Which areas?
2 A. About two hours. 2 A. Mostly methodological applications of
3 Q. And when did you spend those two hours? 3 design and analysis of epidemiologic studies.
4 A. Yesterday, 4 Q. Can you be more specific in terms of the
5 Q. Did you do that by yourself or was there 5 methodological applications of analysis where your
6 anyone with you? 6 expertise is?
7 A. (To Mr. Himmelstein) I was going to call 7 A. My main expertise is in the design and
8 you Dr. Himmelstein. _ 8 analysis of observational studies, both in the area
9 Q. You can call him Dr. Himmelstein. 9 of infectious disease transmission and in the area of
10 A. Barry was there and Ilyas Rona and Palko 10 chronic disease epidemiology.
11 Goldman were on the phone in the conference at the |11 Q. And just so the record is clear, what is
12 same time. 12 epidemiology?
13 Q. And any other preparation other than the 13 A. Epidemiology is a body of study that
14 two hours, approximately, that you spent yesterday 14 investigates the distribution of diseases across
15 that you just described? 15 populations with a view to describing and
16 A. Not in preparation for the deposition, no. 16 understanding the variation and incidence of disease
17 Q. Other than the calls you mentioned with 17 across populations, usually human, but not
18 Dr. Abramson and Dr, Perry, the drafting of your 18 necessarily human.
19 report, your looking at Dr. Gibbons' report and the 19 Q. What is an observational study? I believe
20 preparation you spent yesterday, have you done 20 you used that term.
21 anything else related to this case? 21 A. An observational study does not involve the
22 A. No, I have not. 22 use of randomization and assignment of exposure of
23 Q. Are you working on any further report in 23 treatment.
24 connection with this litigation? 24 Q. Okay. So do you consider yourself an
25 A. Not at the current time. 25 expert with respect to epidemiology as it relates to
19 21
1 Q. Do you have plans to do so? 1 randomized clinical trials?
2 A. I don't have any immediate plans, no. 2 A. Well, randomized clinical trials goes
3 Q. Do you have any non-immediate plans? 3 beyond epidemiology, of course, into clinical
4 A. I don't understand that question. 4 medicine as well. I consider myself an expert in the
5 Q. Do you have any plans at all to prepare a 5 _ statistics of randomized clinical trials.
6 further report? 6 Q. Do you consider yourself an expert in
7 A. Not at the current time, no. 7 clinical medicine?
8 Q. Do you consider yourself an expert in 8 A. No, Ido not.
9 statistics? 9 Q. Do you consider yourself an expert in
10 A. Yes, I do. 10 biology?
11 Q. And do you consider yourself an expert in | 12 A. No, I do not.
12 biostatistics? 12 Q. Do you consider yourself an expert in drug
13 A. Yes, I do, 13 approval process?
14 Q. Do you consider yourself an expert in pain | 14 A. No, Ido not.
15 management? 15 Q. Do you consider yourself an expert in the
16 A. No, I do not. 16 effect of drugs on human beings?
17 Q. Do you consider yourself an expert in 17 A. No, Ido not.
18 neurology? 18 Q. Do you consider yourself an expert in
19 A. No, I do not. 19 pharmacology?
20 Q. Do you consider yourself an expert in 20 A. No, I do not.
21 biochemistry? 21 Q. Do you consider yourself an expert in new
22 A. No, I do not. 22 drug development?
23 Q. Do you consider yourself an expert in 23 A. No, Ido not.
24 epidemiology? 24 Q. Do you consider yourself an expert in
25 A. J am an expert in areas of epidemiology. 25 _ statistical estimation methods preferred by the Food

 

 

6 (Pages 18 to 21)

VERITEXT CORPORATE SERVICES (800) 567-8658
Case 1:04-cv-10981-PBS Document 1692-7 Filed 03/02/09 Page 4 of 9

 

 

 

 

22 24
1 and Drug Administration? 1 Q. You've never taken the drug?
2 MR. HIMMELSTEIN: Objection. Vague and 2 A. Not to my -- to the best of my knowledge.
3 ambiguous. 3 Q. Do you have any understanding of the
4 THE WITNESS: Well, I don't know what 4 mechanism of action of the drug?
5 statistical methods are preferred by the Food and 5 A. Na, I do not.
6 Drug Administration in detail, so it's hard for me to 6 Q. In any of your graduate work have you ever
7 describe myself as an expert. 7 studied or taken any courses related to pain
8 BY MR. POTISCHMAN: 8 management?
9 Q. Let me ask a better question. 5 A. No, [have not.
10 Do you know what statistical methods, if 10 Q. Can you briefly describe for me your
11 any, the Food and Drug Administration prefers for 11 publications experience related to medications.
12 clinical trials? 12 A. Well, my publications, I probably have a
13 MR. HIMMELSTEIN: Objection. Vague and [13 handful of papers that relate to the effect of drugs
14 ambiguous. 14 or interventions, other kinds of medical
15 THE WITNESS: I can't speak for the Food 15 interventions.
16 and Drug Administration. I don't know. You'd have |16 Q. And are those concentrated in any drug or
17 to ask them what they prefer. J certainly am an 17 class of drugs or disease states?
18 expert on methods that I think they might like, but] |18 A. No, they are not.
193 should not speak for them. 19 Q. Have you published any papers related to
20 BY MR. POTISCHMAN: 20 any anti-convulsant or any anti-seizure medications?
21 Q. I'm not asking you to speak for them. Iam 21 A. I don't believe so, no.
22 just trying to figure out whether you are familiar 22 Q. To the best of your recollection, have you
23 with statistical methods that the FDA prefers, if 23 published any pieces that relate to diabetic
24 any, to be included in clinical trials. 24 peripheral neuropathy or any other neuropathic pain
25 MR. HIMMELSTEIN: Objection. Asked and |25 — state?
23 25
1 answered, 1 A. No, I have not.
2 BY MR. POTISCHMAN: 2 Q. Have you had a particular focus of your
3 Q. You can answer it. 3 research in, say, the last 10 years?
4 A. Iam not familiar with what the Food and 4 A. Not really a particular focus. Before that
5 Drug Administration requires for new drug approvals. | 5 I was focused on HIV, but not specifically as much in
6 Q. Do you have any expertise in connection 6 the last 10 years.
7 with drug prescribing? 7 Q. Have you ever consulted before with
8 A. No, I do not. 8 pharmaceutical companies on clinical trials?
9 Q. Do you consider yourself an expert in any 9 A. Yes, I have. .
10 -- withdrawn. 10 Q. And when is the last time you did that?
11 Do you consider yourself an expert in 11 A. With a pharmaceutical company?
12 diabetic peripheral neuropathy? 12 Q. Yes.
13 A. No, I do not. 13 A. Well, that's a hard one. I can't be sure
14 Q. Do you consider yourself an expert in 14 that I've consulted with a pharmaceutical company --
15  postherpetic neuralgia? 15 well, probably sometime in the last five years. Not
16 A. No, I do not. 16 alot. Sometime in the last -- certainly in the last
17 Q. Do you consider yourself an expert in 17 five to 10 years, and certainly some in the 10 to 25
18 neuropathic pain generally? 18 years before that.
19 A. No, I do not. 19 Q. What type of consulting work have you done
20 Q. Other than your work on this report have 20 in that regard?
21 you had any other experience with the drug 21 A, Over my entire career?
22 gabapentin? 22 Q. Yes.
23 A. No, not to my knowledge. 23 A. Over my entire career it's ranged from
24 Q. You've never studied the drug? 24 helping pharmaceutical companies prepare materials
25 A. No, I have not. 25 for new drug applications, analyzing clinical trial

 

 

7 (Pages 22 to 25)

VERITEXT CORPORATE SERVICES (800) 567-8658
Case 1:04-cv-10981-PBS Document 1692-7 Filed 03/02/09 Page 5 of 9

 

 

 

 

 

42 44
1 occurrence of adverse effects. 1 MR. HIMMELSTEIN: I certainly hope so.
2 ~ Q. Your report lists in the bibliography 2 BY MR. POTISCHMAN:
3 section three documents. I am looking on the 15th 3 Q. But you don't know who any of them are?
4 page. 4 A. No, Edo not.
5 Do you have that in front of you? 5 Q. Does the report, Jewell Exhibit 2, does
6 A. Yes. 6 that embody a complete statement of your opinions
7 Q. To the best of your recollection, did you 7 regarding gabapentin?
8 review any other documents, other than these three, 8 A. As of the time it was written, yes, and
9 before submitting your report? 9 it's only been impacted -- changed to the extent I've
10 A. No, not in -- that had any material 10 thought about Dr. Gibbons’ report, but that hasn't
11 content. [ did have another pain paper there that I 11 really changed my opinions, so yes.
12 didn't really pay any attention to by Cerpell, I 12 Q. Your report, and I am looking at paragraph
13 think was the first author's name, but J did not use 13 7, page 3, says -- and I'm just quoting:
14 it in any way and I don't believe I even read it very 14 "[ have been asked to provide an
15 carefully. 15 analysis of data underlying the paper by
16 Q. Was that something that you had -- that 16 Backonja, et al., on the effects of
17 piece something that you had found during your 17 gabapentin on pain severity in a sample of
18 research or was it given to you by plaintiffs’ 18 patients randomized to treatment with
19 counsel or something else? 13 either gabapentin or placebo."
20 A. It was given to me by plaintiffs’ counsel. 20 Do you see that?
21 Q. Do you have an understanding about why they | 21 A. Ido see that sentence.
22 gave it to you? , 22 Q. And did J read that correctly?
23 A. No, Ido not. 23 A. Yes, you did.
24 Q. And after your report was submitted, I 24 Q. And does that accurately summarize what you
25 believe you indicated that you've seen and looked at 25 were asked to do?
43 45
1 to some extent Dr. Gibbons' report, correct? 1 A. Without providing detail as to what kind of
2 A. That is correct. 2 analysis, yes.
3 Q. Have you received any other documents since 3 Q. And that is what you did, correct?
4 you submitted your report? 4 A. That's what I did, yes.
5 A. Not that I'm aware. I think J may have 5 Q. Are you familiar with the term a
6 received a couple of other documents by -- from the 6 "literature review"?
7 other side of the case, the defendants, but I haven't 7 A. Yes, ] am.
8 looked at them. I may have received two or three pdf | 8 Q. What is a literature review?
9 files and I only looked at the one by Gibbons. I 9 A. Well, to me that would be let's say on a
10 haven't even opened the other two. 10 specific statistical technique being able to survey
11 Q. At some point you received a subpoena, 11 the literature on articles and work done referencing
12 correct? 12 or using or describing or developing that technique.
13 A. Actually, I didn't receive it but the 13 Q. Was this project a literature review?
14 attorneys at Greene & Hoffman received it. 14 A. No, it was not.
15 Q. Did you ever get it? 15 Q. And your focus and conclusions relate to
16 A. I think I was ultimately sent it -- 16 this one study, Jewell Exhibit 1, correct?
17 forwarded it, yes. 1? A. That is correct.
18 Q. Do you have any understanding of who the 18 Q. You didn't review and you don't have any
19 plaintiffs are in this case? 13 opinions about other studies about gabapentin?
20 A. No, I have very little understanding of the 20 A. No, I do not.
21 plaintiffs. 21 Q. Have you ever heard the term "meta
22 Q. Do you know whether you are working on 22 analysis"?
23 behalf of the plaintiffs or the defendants? 23 A. Yes, Ihave.
24 A. I believe I'm working on behalf of the 24 Q. And can you describe what a meta analysis
25 plaintiffs. 25° is.
12 (Pages 42 to 45)

VERITEXT CORPORATE SERVICES (800) 567-8658

 
Case 1:04-cv-10981-PBS Document 1692-7

Filed 03/02/09 Page 6 of 9

 

 

 

 

46 48
1 A. To me a meta analysis refers to a 1 Q. Do you know one way or the other whether
2 - statistical combination -- or a statistical analysis 2 any other studies have been done about gabapentin and
3 based on combining results from multiple 3 _ its ability to treat DPN?
4 investigations. 4 A. I'm not particularly aware. As I indicated
5 Q. And did you perform a meta analysis here? 5 earlier, plaintiffs‘ counsel did send me another
6 A. No, I did not. 6 paper by Cerpell, et al., but I can't honestly say
7 Q. Do you have an opinion, sir, on whether 7 that I know that was about gabapentin because I
8 gabapentin can be an effective treatment for people 8 didn't really study it. But I assume there are other
9 suffering from DPN? 9 studies,
10 A. Only with regards to this particular trial 10 Q. Okay. And the conclusions in your report,
11. population. 11 Exhibit 2, are focused on the one study that you did
12 Q. And then my question is broader, Do you 12 review in detail?
13 have an opinion on the state of science generally on 13 A. That is correct.
14 whether gabapentin can be an effective treatment for 14 MR. POTISCHMAN: Why don't we take a short
15 _ patients suffering from DPN? 15 break. |
16 MR. HIMMELSTEIN: Objection. The witness | 16 THE VIDEOGRAPHER: We are now going off the
17 is not retained to provide such an opinion. It is 17 record. The time is approximately 10:01 a.m.
18 beyond the scope of his designation. 18 (Whereupon, a recess was taken from
19 But I will allow him to answer, 19 10:01 am. until 10:12 am.)
20 MR. POTISCHMAN: That is a speaking 20 THE VIDEOGRAPHER: We are now going back on
21 objection which is noted on the record. 21 the record. The time is approximately 10:12 am.
22 Q. You can answer the question now. 22 BY MR. POTISCHMAN:
23 A. My opinion about the efficacy of gabapentin 23 Q. [believe you used the term “unblinding"
24 — is limited to the analysis of the results in the 24 — earlier today.
25 Backonja paper, 25 Are you familiar with the term?
47 49
1 Q. That is what I am trying to understand, is 1 A. Yes, Iam.
2 does your review of the Backonja or Backonja -- we'll | 2 Q. What is unblinding?
3 settle on one before it's over -- does your review of 3 A. Unblinding refers to the situation where
4 the Backonja paper allow you to draw a conclusion 4 either -- any individual involved in a clinical trial
5 about whether gabapentin can be an effective 5 is aware of the treatment assigned to a specific
6 treatment for patients suffering from DPN? 6 individual.
7 A. Yes, within the limit of that one piece of 7 Q. And why is that potentially a problem, to
8 information, I understand that there may be other 8 your knowledge?
9 pieces of information that I-am not familiar with 9 A. It's potentially a problem with regard to
10 that would reflect on that question. But I do have 10 anyone being unblinded to the extent that it may
11 an opinion based on that one clinical trial. 11 either consciously or unconsciously influence their
12 Q. Okay. And what is that opinion? 12 conduct in reporting the results of a trial or the
13 A. That there is not strong evidence of any 13 data for trial.
14 efficacy of the drug in reducing pain in any 14 Q. To your knowledge, are there steps that an
15 _ significant manner. 15 investigator can take to try to reduce the risk of
16 Q. And so when you say that there is not 16 unblinding?
17 strong evidence of any efficacy, does that mean that 17 A. Yes, there are.
18 there is some evidence of efficacy? 18 Q. What kind of steps can an investigator take
19 A. [ think we'd have to talk about specifics 19 in planning a trial?
20 rather than parsing it in English, that question. I 20 A. They can take the step of blinding all
21 don't want you to -- when I say I don't believe there 21 participants to the assigned treatment assignment.
22 is any evidence from this trial or any strong 22 Q. And in a general sense for the jury, how do
23 evidence from this trial that there is an efficacious 23 you blind someone?
24 reduction in pain through use of gabapentin as 24 A. Well, it depends on the --
25 compared to placebo. 25 Q. The participant. I'm sorry.

 

 

13 (Pages 46 to 49)

VERITEXT CORPORATE SERVICES (800) 567-8658
Case 1:04-cv-10981-PBS Document 1692-7 Filed 03/02/09 Page 7 of 9

 

 

 

 

62 64
1 word. But it was a pain severity rating on an 1 "quality of life" refers to there?
2 11-point Likert -- L-i-k-e-r-t -- scale, and that was 2 A. No, not specifically. It refers to a
3 their primary efficacy outcome. And there were 3 36-point questionnaire. So other than that, I don't
4 secondary efficacy outcomes on various measures of 4 know.
2 sleep interference, to the extent I understand those. 5 Q. Have you ever, to the best of your
6 When you go to the efficacy results which 6 recollection, dealt with quality-of-life scoring in
7 are described on the next page, 1834, you see they 7 analyzing whether a medicine is beneficial to
8 immediately tum to their primary efficacy end point 8 patients?
9 in terms of mean pain score, mean sleep interference 9 A. Yes, I have.
10 and various variants of those measurements. 10 Q. Have you ever done that in connection with
il Q. And do you know what "sleep interference" 11 apain medication?
12 refers to? 12 A. Not that I'm aware of.
13 A. Not in -- at the level of a clinical 13 Q. The work that you did in your report, am I
14 understanding, no. 14 correct that it focused on the primary end point
15 Q. You understand the words, but not the 15 being the daily pain scores or weekly pain scores?
16 clinical meaning of that term? 16 A. It focused entirely on the measurement of
17 A. That is correct. 17 pain in primary, and not on the secondary outcomes.
18 Q. Do you also see on the efficacy discussion 18 Q. Okay. So it didn't focus on any of the
13 that goes from 1834 to 1835, that it also refers to 19 secondary outcomes we've discussed?
20 the CGIC scale and it refers to impact on 20 A. That is correct.
21 anger/hostility, vigor/activity, fatigue/inertia and a1 Q. Do you have any opinion about the study's
22 total mood disturbance. 22 results as it relates to secondary outcomes?
23 Do you see that? 23 A, Not at this point, no.
24 A. I don't see it at the moment. Can you 24 Q. On page 1833, you see in sort of the middle
25 point me to ~- 25 of the page there is a bold paragraph heading titled
63 65
1 Q. Sure. It's the last sentence on 1834, 1 "Analyses"?
2 carrying over to 1835. 2 A. Isee that section.
3 A. The CGIC scale? CGIC, is that what you are 3 Q. And the first line says:
4 referring to? 4 "All testing was two-sided."
5 Q. Yes. 5 Do you see that?
6 A. Isee those words, yes. 6 A. Ido.
7 Q. Okay. Do you see the discussion of 7 Q. Do you have an understanding of what the
8 anger/hostility, mood disturbance that appears on the | 8 term "two-sided" means?
9 top of page 1835? 9 A. Yes, F do.
10 A. I do see that, yes. 10 Q. And can you tell me what that means?
11 Q. And just going to the front page of the 11 A. It means that they were allowing for the
12 — study, I'm looking at 1831 where they summarize the | 12 possibility that the active treatment may actually
13 results. 13 perform worse than placebo, in addition to possibly
14 Do you have that page in front of you? 14 performing better than placebo. So they allowed for
15 A. Yes, Ido. 15 both variants from the hypothesis that there is
16 Q. And do you see the sentence in the -- about 16 absolutely no difference.
17 five lines down under "Results" which talks about 17 Q. So it's possible to test a drug only in a
18 "All secondary outcome measures..."? 18 one-sided way where you are only looking for
19 A. Yes, Ido. 19 efficacy?
20 Q. And you see there is a reference to 20 A. It is possible to look at the data with a
21 "statistically significant differences favoring 21 view to focusing solely on one -- departures in one
22 gabapentin treatment were observed in measures of | 22 direction, that is correct.
23 quality of life"? 23 Q. Do you know one way or the other whether
24 A. That is correct. 24 that type of one-sided data analysis was commonly
25 Q. Do you have an understanding of what 25 done in the mid to late 1990s?

 

 

17 (Pages 62 to 65)

VERITEXT CORPORATE SERVICES (800) 567-8658
Case 1:04-cv-10981-PBS Document 1692-7

Filed 03/02/09 Page 8 of 9

 

 

 

 

78 80
1 negative 1.9 and negative 1.6, does that have any 1 numbers, there is a similar column of information
2 meaning to you as a statistician? 2 about these scales of both gabapentin and the placebo
3 A. Yes, it does. 3 and the difference in one direction or the other and
4 Q. And what does it mean? 4 of p-value and a confidence interval for each of
5 A. Well, it means that -- if you look at a 5 those outcomes.
6 confidence interval, the estimate that you want of 6 Q. And again, the p-value is less than .001,
7 this unknown quantity, in this case, the mean 7 correct?
8 difference in population pain scores between the two 8 A. That is correct.
9 groups, gabapentin and placebo, the point estimate is 9 Q. Is your answer the same with respect to the
10 minus 1.2 and the confidence interval will always 10 next row, the SF-MPQ VAS?
11 contain the point estimate. It doesn't have to be 11 A. It's similar, yes. A very different scale.
12 exactly in the middle. In this case it is I think 12 A scale I don't claim to understand.
13 exactly in the middle because of the procedures used. | 13 Q. But the results are indicating a
14 And then as you move out towards the edge 14 © statistically significant difference between the
15 of the confidence interval you would expect that 15 gabapentin group and the placebo group on that scale,
16 those values are less and less plausible as a 16 correct?
17 possible estimate of the difference in means. Andas | 17 A. That is correct.
18 you go outside the confidence interval you think they | 18 Q. And is the answer the same with respect to
19 really are beginning to be quite implausible. 19 the next row, SF-MPQ PPI?
20 So that we don't believe, for example, that 20 A. That is correct.
21 minus 3 difference in the mean difference in means is | 21 Q. The next row says "Short Form 36 QOL
22 plausible based on this evidence. It is not 22 Questionnaire Bodily Pain.”
23 impossible, but it's highly implausible. 23 Do you see that?
24 Minus 1.9, which is at the edge of the 24 A. I do see that, yes.
25 confidence interval, is pretty implausible, but right 25 Q. The p-value has changed here. It is now
79 $1
1 at the point where we are beginning to think, well, 1.01, but I have the same question. To your
2 it's just starting to enter the area of plausibility. 2 knowledge, does this show a statistically significant
3 "And as you move into the middle of the 3 difference between the gabapentin group and the
4 confidence interval, based on this data, that seems 4 placebo group on that score?
5 to be increasing the level of plausibility of this as 5 A. Ifyou use a five percent level of --
6 an estimate of the true difference in the means. 6 tolerance level or threshold level, yes.
7 Q. I don't want to repeat the entire exercise 7 Q. Which is what they were using?
8 for the mean sleep interference score, but is it -- 8 A. Which is what they were using, correct.
9 can you at least tell me what you understand Table 2 3 Q. The same question with respect to the
10 toconclude on gabapentin versus placebo about mean |10 mental health row, does this show a statistically
11 sleep interference. il significant difference between the gabapentin group
12 A. Itis very similar to the row above, The 12 and the placebo group?
13 _ scales of course are different, but it reports a 13 A. It does, yes.
14 difference in means at the end point in favor of 14 I should point out as we are going down
15 gabapentin with a significant p-value of less than 15 these rows one by one that, to my understanding,
16.001, 16 these rows can only be read one at a time because the
17 Q. But again the mean sleep interference score 17 results on each of these outcome measures are
18 data is not something that your report addressed, 18 presumably highly correlated with an individual's,
19 correct? 19 which would mean that the estimates that ultimately
20 A. That is correct. 20 _ lead to the estimates of the means or difference in
21 Q. Can you describe for me, to the extent you 21 the means being highly similar correlated across rows
22 understand it, the conclusion that can be drawn from |22 and the p-values therefore being similar from a
23 the next row, the total SF-MPQ, 23 correlation point of view and not representing
24 A. Well, I don't even understand what SF-MPQ | 24 _ separate independent pieces of information.
25 __ is without going back, but from just looking at the 25 Statisticians are well aware of that and

 

 

21 (Pages 78 to 81)

VERITEXT CORPORATE SERVICES (800) 567-8658
Case 1:04-cv-10981-PBS Document 1692-7 Filed 03/02/09 Page 9 of 9

 

 

 

 

146 148
1 Q. And so to be clear, before when J had asked 1 (Whereupon, a recess was taken from
2 you a question about whether even under your analysis 2 12:35 p.m, until 1:20 p.m.)
3 there were statistically significant differences 3 THE VIDEOGRAPHER: We are now going back on
4 during the first few weeks of the-study, if you could 4 the record. The time is approximately 1:20 p.m.
5 take a look at paragraph 20 on page 12, which refers 5 BY MR. POTISCHMAN:
6 to the figure in the middle, 2(B) on page 13, I 6 Q. Professor Jewell, do you still have your
7 believe you'll see on page 12 it says that in figure 7 report, Jewell Exhibit 2, in front of you?
8 2(B): 8 A. Yes, I do.
9 “The means are only statistically 9 Q. Can you take a look at paragraph 15 of that
10 significant in weeks two and three, and 10 report which begins on page 8.
11 never thereafter." 11 A. Yes. I have it in front of me.
12 Do you see that? 12 Q. It refers to steps you took with respect to
13 A. In figure 2(B)? Yes. 13 central nervous system side effects.
14 Q. I'm looking at the text in the middle of 14 Do you see that?
15 the page. 15 A. I see that, yes.
16 A. That's correct. 16 Q. Who identified the side effects that you
17 Q. Okay. So according to your reanalysis 17 used in your analysis?
18 here, there was a statistically significant drop in 18 A. It was a gentleman called Palko Goldman who
19 pain scores in the gabapentin group in the first two 19 provided me ultimately with the list of CNS side
20 to three weeks of the study, correct? 20 effects and sent to me the appendix C.36 that is
21 A. Ifyou look at those results separately 21 referred to in my report,
22 within specific weeks, yes. I think it was just 22 Q. And is Mr. Goldman -- who is Mr. Goldman?
23 weeks two and three, and not week one, if I recall. 23 A. He is a non-attomey I think that works
24 That's what | meant by the means are only 24 with Greene & Hoffman.
25 _ statistically significant in weeks two and three. 25 Q. Do you know whether he has a medical
147 149
1 Q. And if you take a look at weeks I think 1 background?
2 it's one, four and five, am I right in seeing these 2 A. I don't know anything about his background,
3 as showing that the confidence intervals do not 3. no.
4 overlap between the placebo group and the treatment 4 Q. Did you personally do anything with respect
5 group? 5 to determining the list of CNS side effects to use in
6 A. That is correct on paragraph -- in figure 6 your report?
7 2(B). 7 A. I chose the synomyms that were used. The
8 Q. Thank you. 8 list that is provided in appendix C.36 has side
3 Even when confidence intervals don't 9 effects | think like somnolence. And I myself chose
10 overlap, as in those situations, it's possible that 10 to attribute synomyms like sleepiness to the -- as
11 the results are not statistically significant? 11 another version of the same side effect. And I think
12 A. It's possible. They don't always match up 12 I probably checked that with Mr. Goldman at some
13 exactly. You can see the confidence intervals almost 13 point that the list of synonyms that I had used...
14 touch there, so that's not a big surprise to me. The 14 And other than that I did look at the
15 _ p-value is probably around .06 or .055 or something, 15  Backonja paper to see -- obviously, we knew from the
16 Q. But in weeks two and three, this early 16 start the two side effects that they focused on that
17 onset, there is a statistically significant 17 we discussed this morning I think were dizziness and
18 difference in pain relief in the gabapentin group 18 somnolence, and he refers -- they refer to those in
19 compared to placebo; correct? 19 the end as CNS side effects. There were other side
20 A. That is correct. 20 effects in the data set beyond the CNS ones.
21 MR. POTISCHMAN: All right. Let's take a 21 Q. Okay. So Mr. Goldman sent you an initial
22 break. 22 — list from Greene & Hoffman of CNS side effects that
23 THE VIDEOGRAPHER: We are now poing off the [23 he had identified?
24 record. The time is approximately 12:35 p.m. 24 A. They are identified in this appendix of the
25 Hf 25 945-210 research report which IJ think came from

 

38 (Pages 146 to 149)
VERITEXT CORPORATE SERVICES (800) 567-8658

 
